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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :            Date of
                                               :            Notice: May 7, 2018
              vs.                              :
                                               :
CHARLES M. HALLINAN                            :            Criminal No. 16-130-01
NORTH SPRING MILL ROAD
VILLANOVA, PA 19085

***PLEASE NOTE - NEW DATE

              TAKE NOTICE that the above-entitled case has been set for SENTENCING in
the United States District Court, United States Courthouse, 601 Market Street, Philadelphia,
Pennsylvania, on July 6, 2018 at 9:00 a.m. before the Honorable Eduardo C. Robreno in
Courtroom 15-A, 15th Floor.

          COUNSEL SHALL SUBMIT A SENTENCING MEMORANDUM TO THE
COURT FIVE (5) BUSINESS DAYS PRIOR TO THE HEARING.

          ALL DEFENDANTS ARE DIRECTED TO REPORT TO THE COURTROOM
ON THE DATE AND TIME STATED ABOVE. IF A DEFENDANT FAILS TO APPEAR AS
DIRECTED, THE BAIL MAY BE FORFEITED AND A BENCH WARRANT ISSUED.

              If a defendant is presently in jail, the defendant or his counsel shall notify the
undersigned in writing immediately so that the necessary procedures can be taken to have the
defendant present in the courtroom.

                                               Very truly yours,

                                                   s/ Ronald Vance
                                               Ronald Vance
                                               Deputy Clerk to Judge Robreno


[] INTERPRETER REQUIRED
[X] THIS PROCEEDING HAS BEEN RESCHEDULED FROM - June 5, 2018


                               Notice to:
                                               Defendant (mailed)
                                               E. Jacobs, Defense Counsel (via e-mail)
                                               M. Dubnoff, A.U.S.A. (via e-mail)
                                               U.S. Marshal (via e-mail)
                                               Probation Office (via e-mail)
                                               Pretrial Services (via e-mail)
                                               Larry Bowman (via e-mail)
